Case 2:02-cr-20027-.]DB Document 140 Filed 08/22/05 Page 1 of 4 Page|D 122

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IN THE UNITED sTATEs DISTRICT CoURT

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UNITED STATES OF AMERICA Cl‘"`l;;§?iv"~ y !J`.-.`JIPB§UR}_
V. NO. CR-02_20027
ludgc Bl'€€n
FREDDIE PETERS3
Defenc{ant

 

ORDER AMENDING AMENDED ]UDGMENT

 

The defendant moved by motion filed ]uly 26, 2005, the court to amend the
“Amended ]udgment in a Criminal Case: signed ]uly 6 and docketed ]uly 7, 2005 (Docket
Entry No. 133) to include a statement as to the time of federal custody on this matter. The
government has not filed any opposition to this motion.

lt appears to the court that the defendant has not been given various credits even
though the government and the defendant agree as to the defendant’s time in federal
custody on this matter. As pointed out in the defendant’s position paper concerning the re-

sentencing, he had served 856 days of this sentence at the time of the re-sentencing.

According to the United States Marshal for this district, Mr. Peters should he
credited With the following time served in federal custody on this matter:

Peters Was taken into federal custody on this case from the State of Tennessee on
February 26, 2002, pursuant to a Writ. He remained in federal custody at the West

Tennessee Detention Center at Mason through his trial and sentencing, and Was returned to

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Case 2:O2-cr-20027-.]DB Document 140 Filed 08/22/05 Page 2 of 4 Page|D 123

the custody of the State of Tennessee on December 16, 2003. This is a period of 294 days.

After being release from the custody of the State of TennesseeJ he Was taken back
into federal custody on December 17, 2003; he again Was housed temporarily at Mason.
He remained at Mason until he was turned over to the Bureau of Prisons on February 2,
2004. This period of housing again at Mason Was 48 days. He therefore served 342 days
before going into the Bureau of Prisons system.

From February 2, 2004 (When he entered the Bureau of Prisons system) to ]une 30,
2005, the date of re-sentencing, is a period of 514 days.

ThereforeJ the total time spend in federal custody on this matter is 856 days as of
]une 30J 2005, the date of the re~sentencing.

Under the local rules of this Court, the government ha ll days after the motion Was
served to file any objection to the defendant’s motion. The government has filed no
response or opposition at all.

Therefore, for good cause shown, it is hereby ORDERED that the Amended
Iudgment docketed ]uly 7 is hereby further amended to include the following language:

The Court finds that the defendant has been in federal
custody in connection With this case for a total period of 856
days through ]une 30J 2005, the date of re-sentencing and
orders that he receive credit towards the service of this sentence

of those 856 days as of ]une 30, 2005.”

Case 2:O2-cr-20027-.]DB Document 140 Filed 08/22/05 Page 3 of 4 Page|D 124

Enter this ___q`\_day of Au t 2005

 

O] DanielBreen Iudg
U ited States District Court

Approved:

THOMAsoN, HENDRIX, HARVEY,
JoHN soN st MITCHELL, PLLC

By:
Ke per B. Durand
C]A Counsel for Freddie Peters

 

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This notice confirms a copy of the document docketed as number 140 in
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Kemper B. Durand

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Honorable J. Breen
US DISTRICT COURT

